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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

JASON LEOPOLD AND             )
BUZZFEED INC.                 )
               Plaintiffs,    )
                              )                 Civ. A. No. 1:20-cv-00287 (CJN)
      v.                      )
                              )
U.S. DEPARTMENT OF JUSTICE, )
                              )
                  Defendant.  )
______________________________)


                                   JOINT STATUS REPORT

       In accordance with the Parties’ agreement in their first Joint Status Report (“First JSR”),

see ECF No. 10 (Apr. 15, 2020), to update the Court as to the progress of this Freedom of

Information Act (“FOIA”) litigation by June 3, 2020, the Parties report as follows:

       1.       This is a FOIA case in which Plaintiffs Jason Leopold and Buzzfeed, Inc., seek

records from the U.S. Department of Justice’s (“DOJ”) Office of the Inspector General (“OIG”)

pertaining to what Plaintiffs allege was “FBI’s investigation into any witting or unwitting collusion

between Trump associates and Russian officials regarding the Russian government’s effort to

interfere in the 2016 Presidential Election. The FBI’s investigation is also known under code name

Crossfire Hurricane.” Compl. ¶ 1, ECF No. 1.

       2.       Plaintiffs’ Complaint contains allegations related to three different FOIA requests:

       1) All non-public records, such as intelligence products, interview transcripts and
       summaries, emails, FBI FD 302 summaries, memos, letters, text messages,
       exhibits, charts, spreadsheets, that were used by the Office of the Inspector
       General in the drafting of the December 2019 report: Review of Four FISA
       Applications and Other Aspects of the FBI’s Crossfire Hurricane Investigation.

       2) Any and all records, including but not limited to emails, memos, letters, and
       text messages, sent and received by senior Office of Inspector General personnel
       mentioning or referring to the report: Review of Four FISA Applications and

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       Other Aspects of the FBI’s Crossfire Hurricane Investigation. The timeframe for
       this request is December 1, 2019 through the date the search for responsive
       records is conducted.

       3) Emails, memos, letters, text messages, mentioning or referring to the FISA
       investigation, the Nunes Memo, Crossfire Hurricane, Attorney General William
       Barr, Robert Mueller, Carter Page, John Durham and Christopher Steele and
       Steele Dossier, Peter Strzok and Donald Trump and Trump Campaign. The
       timeframe for this request is January 1, 2019 through the date the search for
       responsive records is conducted.

Compl. ¶ 6.

       3.       The Government has not issued determinations in response to the requests.

       4.       In their First JSR, OIG reported that for subpart 1, the December 2019 OIG report

entitled “Review of Four FISA Applications and Other Aspects of the FBI’s Crossfire Hurricane

Investigation,” contains approximately 4,612 citations. All of the documents cited in the report

are maintained on a classified system(s) and can only be reviewed in a Sensitive Compartmented

Information Facility (“SCIF”) in OIG’s offices. In response to the COVID-19 crisis, OIG is (and

has been since at least the First JSR) in a maximum telework posture and is only authorizing

personnel to go to the office to perform mission critical functions. At the time of the filing of the

First JSR, OIG did not consider the review of documents in a SCIF in OIG’s offices for FOIA

processing purposes to be a mission critical function. OIG’s position has not, as of yet, changed

in this regard. Therefore, while OIG has identified the records responsive to subpart 1, at this time,

it is not in a position to process those records. OIG will apprise Plaintiffs and the Court as soon

as circumstances allow for processing to begin.

       5.       For subpart 2, OIG reported that it was in the process of conducting a search for

responsive records and that it would use its best efforts to complete the search by April 30, 2020.

OIG did indeed conduct such a search, which returned approximately 440 documents. OIG is in

the process of conducting its responsiveness review. OIG has agreed to use its best efforts to


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complete its responsiveness review by June 30, 2020. At that time, the parties have agreed to

confer regarding a reasonable processing schedule.

       6.         For subpart 3, the Parties reported in their First JSR that they were still conferring

about the scope of this request. The Parties continue to do so.

       7.         The Parties have further agreed to report back to the Court by July 10, 2020, on

their progress.

       8.         At this time, Defendant does not believe an Open America motion is likely. The

Parties continue to believe that it is premature to propose a summary judgment briefing schedule.



DATE: June 3, 2020                               Respectfully submitted,

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